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FILED

UNITED STATES DISTRICT COURT OCT 132015
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION Judge Edmond E. Chang

United States District Court

UNITED STATES OF AMERICA !
No. 15 CR 620

. | Hon. Edmond E. Chang
BARBARA BYRD-BENNETT |
PLEA AGREEMENT
L. This Plea Agreement between the United States Attorney for the
Northern District of Illinois, ZACHARY T. FARDON, and defendant BARBARA
BYRD-BENNETT, and her attorney, MICHAEL Y. SCUDDER, JR., is made
pursuant to Rule 11 of the Federal Rules of Criminal Procedure and is governed in
part by Rule 11(c)(1)(A), as more fully set forth below. The parties to this
Agreement have agreed upon the following:
Charges in This Case
2. The indictment in this case charges defendant with honest services
wire fraud, in violation of Title 18, United States Code Sections 1343 and 1346
(Counts 1-4, 6), and honest services mail fraud, in violation of Title 18, United
States Code, Sections 1341 and 1346 (Counts 5, 7-20).
3. Defendant has read the charges against her contained in the
indictment, and those charges have been fully explained to her by her attorney.

4, Defendant fully understands the nature and elements of the crimes

with which she has been charged.
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Charge to Which Defendant Is Pleading Guilty
a By this Plea Agreement, defendant agrees to enter a voluntary plea of
guilty to the following count of the indictment: Count Two, which charges defendant
with honest services wire fraud, in violation of Title 18, United States Code,
Sections 1343 and 1346.

Factual Basis

 

6. Defendant will plead guilty because she is in fact guilty of the charge
contained in Count Two of the indictment. In pleading guilty, defendant admits the
following facts and that those facts establish her guilt beyond a reasonable doubt,
and constitute relevant conduct pursuant to Guideline § 1B1.3:

BYRD-BENNETT was employed as a consultant with the Chicago Public
Schools from approximately May 1, 2012 until October 12, 2012, when she became
the Chief Executive Officer and General Superintendent of CPS. She was an agent
of CPS during the entirety of her employment with CPS. She owed a duty of honest
services to CPS and the Board of Education of the City of Chicago in the
performance of her public duties. BYRD-BENNETT understood that she could not
have an economic interest in any vendor contracts with the CBOE once she became
a consultant for CPS. She also understood that she could not receive any private or

financial benefits for herself or her family in connection with any vendor contracts

with CPS.
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Gary Solomon and Thomas Vranas owned and operated The SUPES
Academy, LLC, and Synesi Associates, LLC (collectively, the “SUPES Entities”),
which offered education-related services to the public education industry. From
approximately the summer of 2011 until approximately April 30, 2012, BYRD-
BENNETT was a paid consultant for the SUPES Entities.

In or about December 2011, Solomon, Vranas, and The SUPES Academy,
LLC entered into a contract with Organization A to provide a leadership
development program for CPS network chiefs, which program became known as the
Chicago Executive Leadership Academy, or CELA. From approximately December
2011 until approximately July 2012, CELA was funded by a grant of approximately
$380,000 from Organization A and approximately $25,000 from CPS. BYRD-
BENNETT served as Master Teacher and coach for CELA.

Beginning no later than in or about April 2012, and continuing until at least
April 2015, at Chicago, in the Northern District of Iinois, Eastern Division, and
elsewhere, BYRD-BENNETT, together with Solomon, Vranas, and the SUPES
Entities, knowingly devised, intended to devise, and participated in a scheme to
defraud and to obtain money and property from CPS by means of materially false
and fraudulent pretenses, representations, and promises, and by concealment of
material facts, and to defraud and deprive CPS and the Chicago Board of Education
of their right to the honest services of BYRD-BENNETT through bribery and

kickbacks.
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Specifically, BYRD-BENNETT solicited and agreed to accept bribes and
kickbacks in the form of personal financial benefits from and future employment
with Solomon, Vranas, and the SUPES Entities, in exchange for acts in BYRD-
BENNETT’s official CPS capacity that were designed to promote and bring about
the awarding of CPS contracts to the SUPES Entities.

In April and May of 2012, Vranas, on behalf of Solomon and the SUPES
Entities, and BYRD-BENNETT executed a Consulting Agreement in which
Solomon, Vranas, and the SUPES Entities agreed to give BYRD-BENNETT a
percentage of the gross revenues of any contracts awarded to the SUPES Entities if,
among other things, BYRD-BENNETT provided sales services for the contract.
BYRD-BENNETT understood that such contracts included those to be awarded by
CPS.

BYRD-BENENTT performed acts in her official CPS capacity in order to
promote and bring about the awarding of CPS contracts to the SUPES Entities.
Among other things, BYRD-BENNETT introduced Synesi Employee A to CPS
employees to plan for external school diagnostic reviews and falsely represented
that she was receiving no financial benefit from the use of the diagnostic review.
BYRD-BENNETT provided information to Solomon and Vranas regarding Requests
for Proposals to be issued by the CBOE in an effort to give the SUPES Entities an

advantage over their competitors. BYRD-BENNETT also persuaded Vendor A,
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which operated alternative schools within CPS, to serve as a sponsor for The
SUPES Academy in August 2012.

Throughout the summer and fall of 2012 and in her official CPS Capacity,
BYRD BENNETT participated in a number of meetings with representatives of
Organization A, where she presented her idea to further expand CELA to include
school principals for the 2012-2013 school year. BYRD-BENNETT repeatedly
requested funding from Organization A to fund CELA for the 2012-2013 school year
and its expansion to principals. At Solomon’s direction, BYRD-BENNETT asked
Official A to request funding from Organization A for CELA and its expansion.
BYRD-BENNETT directed CPS employees to identify funding within CPS to cover
the costs of an expansion of CELA and to steer contracts for The SUPES Academy
through the CPS procurement process in 2012 and 2013.

On or about October 24, 2012, the CBOE approved a $2.09 million, sole-
source contract for The SUPES Academy for leadership development services,
including an expansion of CELA to principals. Under the terms of her Consulting
Agreement, BYRD-BENNETT understood that Solomon, Vranas, and the SUPES
Entities would pay her 10% of the gross value of the October 24, 2012 contract.

In her official CPS capacity, BYRD-BENNETT directed additional expansions
of CELA and requested funding for and CBOE approval of contracts for The SUPES
Academy, including (1) a $225,000 settlement payment to The SUPES Academy,

which was approved by the CBOE on or about January 28, 2013; (2) a $225,000
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contract extension of the October 24, 2012 contract, which was approved by the
CBOE on or about January 23, 2013; and (3) a $20.5 million sole-source contract for
leadership development services, which was approved by the CBOE on or about
June 26, 2013.

BYRD-BENNETT understood that Solomon, Vranas, and the SUPES Entities
created and funded financial accounts for the benefit of Relative A and Relative B of
BYRD-BENNETT. Based on her conversations and communications with Solomon,
BYRD-BENNETT understood that these accounts contained payments owed to
BYRD-BENNETT, pursuant to her Consulting Agreement, for her official actions at
CPS leading to the award of the October 24, 2012 contract to The SUPES Academy,
as well as contracts awarded by other school districts to the SUPES Entities.

BYRD-BENNETT eventually understood that Solomon, Vranas, and the
SUPES Entities intended to hold the payments for her official actions leading to the
October 24, 2012 contract and pursuant to the concealed Consulting Agreement
until after her employment with CPS ended and to make these payments a “signing
bonus” upon her return to employment with the SUPES Entities. Solomon told
BYRD-BENNETT that the accounts for Relative A and Relative B contained
approximately $127,000 each, which funds represented approximately 10% of the
gross proceeds of the October 24, 2012 contract, in addition to funds the SUPES
Entities owed to BYRD-BENNETT for work performed in other school districts

prior to her employment with CPS.
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BYRD-BENNRETT did not receive any payments from Solomon, Vranas, or
the SUPES Entities or any trust relating to the SUPES contracts while employed at
CPS or thereafter. Instead, BYRD-BENNETT expected to receive, following her
employment with CPS, (1) employment with the SUPES Entities; (2) financial
accounts for Relative A and Relative B; and (8) a signing bonus consistent with
those received by other superintendents when they became consultants, and thus
worth hundreds of thousands of dollars.

BYRD-BENNETT also accepted numerous items of value from Solomon,
Vranas, and the SUPES Entities, such as basketball tickets, baseball tickets, meals,
and other personal items in exchange for BYRD-BENNETT using her official CPS
position to ensure that the SUPES Entities kept and expanded their contracts with
CPS and obtained additional contracts with CPS in the future.

BYRD-BENNETT, Solomon, Vranas, and the SUPES Entities concealed the
Consulting Agreement and BYRD-BENNETT's continued financial interest in the
SUPES Entities from CPS and the CBOE. In particular, Solomon and the SUPES
Entities provided a letter to BYRD-BENNETT that falsely purported to terminate
her Consulting Agreement with The SUPES Academy effective April 30, 2012.
BYRD-BENNETT also falsely represented in her Statement of Financial Interests
filed with the CBOE each year from 2012 through 2014 that the CBOE did not
award any work, business or contracts to any person or entity in which she or a

relative had an economic interest.

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BYRD-BENNETT, Solomon, Vranas, and the SUPES Entities concealed,
misrepresented and hid, and caused to be concealed, misrepresented and hidden,
the existence and purpose of the scheme, and acts done in furtherance of the
scheme.

On or about June 15, 2012, in the Northern District of Illinois, Eastern
Division, and elsewhere, BYRD-BENNETT, together Solomon and Vranas, for the
purpose of executing the above-described scheme, knowingly caused to be
transmitted by means of a wire communication in interstate commerce, certain
signs, signals and sounds, namely, an email from BYRD-BENNETT to Solomon,
with a copy sent to Vranas, containing an email chain with a discussion of an
expansion of CELA and stating, in part, “I will work hard to get us this and
expanded work[,]” in violation of Title 18, United States Code, Section 13483 and
1346.

7. The foregoing facts are sct forth solely to assist the Court in
determining whether a factual basis exists for defendant’s plea of guilty, and are
not intended to be a complete or comprehensive statement of all the facts within
defendant’s personal knowledge regarding the charged crimes and related conduct.

Maximum Statutory Penalties
8. Defendant understands that the charge to which she is pleading guilty

carries the following statutory penalties:
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a. A maximum sentence of 20 years’ imprisonment. This offense
also carries a maximum fine of $250,000, or twice the gross gain or gross loss
resulting from that offense, whichever is greater. Defendant further understands
that the judge also may impose a term of supervised release of not more than three
years.

b. Defendant further understands that the Court must order
restitution to the victims of the offense in an amount determined by the Court.

c. In accord with Title 18, United States Code, Section 3013,
defendant will be assessed $100 on the charge to which she has pled guilty, in
addition to any other penalty or restitution imposed.

Sentencing Guidelines Calculations
0, Defendant understands that in imposing sentence the Court will be
guided by the United States Sentencing Guidelines. Defendant understands that
the Sentencing Guidelines are advisory, not mandatory, but that the Court must
consider the Guidelines in determining a reasonable sentence.
10. For purposes of calculating the Sentencing Guidelines, the parties
agree on the following points:

a. Applicable Guidelines. The Sentencing Guidelines to be
considered in this case are those in effect at the time of sentencing. The following
statements regarding the calculation of the Sentencing Guidelines are based on the

Guidelines Manual that will be in effect as of November 2015.
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b. Offense Level Calculations.

di. The base offense level is 14, pursuant to Guideline
§ 2C1.1(a)(1), because defendant was a public official.

li. Pursuant to Guideline § 2C1.1(b)(2), because the value of
the property obtained exceeded $5,000, the base offense level is increased by the
number of levels from the table in Guideline § 2B1.1. Pursuant to Guideline
§ 2B1.1(b)(1)(D, the base offense level is increased by 16 because the value of the
exépeniiy obtained was more than $1,500,000 but less than $3,500,000.

fil. Pursuant to Guideline § 2C1.1(b)(8), the base offense level
is increased by 4 levels because the offense involved a public official in a high-level
decision-making or sensitive position.

lv. It is the government’s position that pursuant to Guideline
§ 3C1.1, the base offense level is increased by 2 levels because the defendant
attempted to obstruct justice with respect to the offense of conviction and relevant
conduct. Defendant reserves the right to argue that this enhancement does not
apply.

v. Defendant has clearly demonstrated a recognition and
affirmative acceptance of personal responsibility for her criminal conduct. If the
government does not receive additional evidence in conflict with this provision, and
if defendant continues to accept responsibility for her actions within the meaning of

Guideline § 3E1.1(a), including by furnishing the United States Attorney’s Office

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and the Probation Office with all requested financial information relevant to her
ability to satisfy any fine or restitution that may be imposed in this case, a two-level
reduction in the offense level is appropriate.

vi. In accord with Guideline § 3E1.1(b), defendant has timely
notified the government of her intention to enter a plea of guilty, thereby permitting
the government to avoid preparing for trial and permitting the Court to allocate its
resources efficiently. Therefore, as provided by Guideline § 3E1.1(b), if the Court
determines the offense level to be 16 or greater prior to determining that defendant
is entitled to a two-level reduction for acceptance of responsibility, the government
will move for an additional one-level reduction in the offense level.

C. Criminal History Category. With regard to determining
defendant’s criminal history points and criminal history category, based on the facts
now known to the government, defendant’s criminal history points equal zero and
defendant’s criminal history category is I.

d. Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, it is the government's
position that the anticipated offense level is 33, which, when combined with the
anticipated criminal history category of J, results in an anticipated advisory
sentencing guidelines range of 135 to 168 months’ imprisonment, in addition to any

supervised release, fine, and restitution the Court may impose.

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e. Defendant and her attorney and the government acknowledge
that the above guidelines calculations are preliminary in nature, and are non-
binding predictions upon which neither party is entitled to rely. Defendant
understands that further review of the facts or applicable legal principles may lead
the government to conclude that different or additional guidelines provisions apply
in this case. Defendant understands that the Probation Office will conduct its own
investigation and that the Court ultimately determines the facts and law relevant
to sentencing, and that the Court’s determinations govern the final guideline
calculation. Accordingly, the validity of this Agreement is not contingent upon the
probation officer’s or the Court's concurrence with the above calculations, and
defendant shall not have a right to withdraw her plea on the basis of the Court’s
rejection of these calculations.

f Both parties expressly acknowledge that this Agreement is not
governed by Fed. R. Crim. P. 11(c)(1)(B), and that errors in applying or interpreting
any of the sentencing guidelines may be corrected by either party prior to
sentencing. The parties may correct these errors either by stipulation or by a
statement to the Probation Office or the Court, setting forth the disagreement
regarding the applicable provisions of the guidelines. The validity of this Agreement
will not be affected by such corrections, and defendant shall not have a right to
withdraw her plea, nor the government the right to vacate this Agreement, on the

basis of such corrections.

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Cooperation

11. Defendant agrees she will fully and truthfully cooperate in any matter
in which she is called upon to cooperate by a representative of the United States
Attorney’s Office for the Northern District of Illinois. This cooperation shall include
providing complete and truthful information in any investigation and pre-trial
preparation and complete and truthful testimony in any criminal, civil, or
administrative proceeding. Defendant agrees to the postponement of her sentencing
until after the conclusion of her cooperation.

Agreements Relating to Sentencing

12. At the time of sentencing, the government shall make known to the
sentencing judge the extent of defendant’s cooperation. If the government
determines that defendant has continued to provide full and truthful cooperation as
required by this Agreement, then the government shall move the Court, pursuant to
Guideline § 5K1.1, to depart downward from the low end of the applicable guideline
range, and shall recommend a sentence that includes a term of imprisonment in the
custody of the Bureau of Prisons of 66 percent of the low end of the applicable
guideline range. Defendant shall be free to recommend any sentence. Defendant
understands that the decision to depart from the applicable guideline range rests
solely with the Court.

13. If the government does not move the Court, pursuant to Guideline

§ 5K1.1, to depart from the applicable guideline range, as set forth above, the

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preceding paragraph of this Agreement will be inoperative, both parties shall be
free to recommend any sentence, and the Court shall impose a sentence taking into
consideration the factors set forth in 18 U.S.C. § 3553(a) as well as the Sentencing
Guidelines without any downward departure for cooperation pursuant to § 5K1.1.
Defendant may not withdraw her plea of guilty because the government has failed
to make a motion pursuant to Guideline § 5K1.1.

14. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the
maximum penalties as set forth above. Defendant further acknowledges that if the
Court does not accept the sentencing recommendation of the parties, defendant will
have no right to withdraw her guilty plea.

15. Regarding restitution, defendant acknowledges that pursuant to Title
18, United States Code, Section 3663A, the Court must order defendant, together
with any jointly liable co-defendants, to make full restitution to the Chicago Public
Schools in an amount to be determined by the Court at sentencing, which amount
shall reflect credit for any funds repaid prior to sentencing.

16. Restitution shall be due immediately, and paid pursuant to a schedule
to be set by the Court at sentencing. Defendant acknowledges that pursuant to Title
18, United States Code, Section 3664(k), she is required to notify the Court and the
United States Attorney’s Office of any material change in economic circumstances

that might affect her ability to pay restitution.

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17. Defendant agrees to pay the special assessment of $100 at the time of
sentencing with a cashier’s check or money order payable to the Clerk of the U.S.
District Court.

18. Defendant agrees that the United States may enforce collection of any
fine or restitution imposed in this case pursuant to Title 18, United States Code,
Sections 3572, 3613, and 3664(m), notwithstanding any payment schedule set by
the Court.

19. After sentence has been imposed on the count to which defendant
pleads guilty as agreed herein, the government will move to dismiss the remaining
counts of the indictment as to defendant.

Acknowledgments and Waivers Regarding Plea of Guilty
Nature of Agreement

20. This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding
defendant’s criminal liability in case 15 CR 620.

21. This Agreement concerns criminal liability only. Except as expressly
set forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial
civil claim, demand, or cause of action it may have against defendant or any other
person or entity. The obligations of this Agreement are limited to the United States

Attorney’s Office for the Northern District of Illinois and cannot bind any other

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federal, state, or local prosecuting, administrative, or regulatory authorities, except
as expressly set forth in this Agreement.
- Waiver of Rights

22. Defendant understands that by pleading guilty she surrenders certain

rights, including the following:
a. Trial rights. Defendant has the right to persist in a plea of not

guilty to the charges against her, and if she does, she would have the right to a
public and speedy trial.

1. The trial could be either a jury trial or a trial by the judge
sitting without a jury. However, in order that the trial be conducted by the judge
sitting without a jury, defendant, the government, and the judge all must agree that
the trial be conducted by the judge without a jury.

li. If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and her attorney
would participate in choosing the jury by requesting that the Court remove
prospective jurors for cause where actual bias or other disqualification is shown, or
by removing prospective jurors without cause by exercising peremptory challenges.

iii. If the trial is a jury trial, the jury would be instructed
that defendant is presumed innocent, that the government has the burden of
proving defendant guilty beyond a reasonable doubt, and that the jury could not

convict her unless, after hearing all the evidence, it was persuaded of her guilt

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beyond a reasonable doubt and that it was to consider each count of the indictment
separately. The jury would have to agree unanimously as to each count before it
could return a verdict of guilty or not guilty as to that count.

iv. If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, and considering
each count separately, whether or not the judge was persuaded that the government
had established defendant's guilt beyond a reasonable doubt.

Vv. At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.
Defendant would be able to confront those government witnesses and her attorney
would be able to cross-examine them.

V1. At a trial, defendant could present witnesses and other
evidence in her own behalf. If the witnesses for defendant would not appear
voluntarily, she could require their attendance through the subpoena power of the
Court. A defendant is not required to present any evidence.

b. At a trial, defendant would have a privilege against self-
incrimination so that she could decline to testify, and no inference of guilt could be
drawn from her refusal to testify. If defendant desired to do so, she could testify in
her own behalf.

C. Waiver of appellate and collateral rights. Defendant further

understands she is waiving all appellate issues that might have been available if

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she had exercised her right to trial. Defendant is aware that Title 28, United States
Code, Section 1291, and Title 18, United States Code, Section 3742, afford a
defendant the right to appeal her conviction and the sentence imposed.
Acknowledging this, if the government makes a motion at sentencing for a
downward departure pursuant to Guideline § 5K1.1, defendant knowingly waives
the right to appeal her conviction, any pre-trial rulings by the Court, and any part
of the sentence (or the manner in which that sentence was determined), including
any term of imprisonment and fine within the maximums provided by law, and
including any order of restitution, in exchange for the concessions made by the
United States in this Agreement. In addition, if the government makes a motion at
sentencing for a downward departure pursuant to Guideline § 5K1.1, defendant also
waives her right to challenge her conviction and sentence, and the manner in which
the sentence was determined, in any collateral attack or future challenge, including
but not limited to a motion brought under Title 28, United States Code, Section
2955. The waiver in this paragraph does not apply to a claim of involuntariness or
ineffective assistance of counsel, nor does it prohibit defendant from seeking a
reduction of sentence based directly on a change in the law that is applicable to
defendant and that, prior to the filing of defendant’s request for relief, has been
expressly made retroactive by an Act of Congress, the Supreme Court, or the United

States Sentencing Commission.

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23. Defendant understands that by pleading guilty she is waiving all the
rights set forth in the prior paragraphs. Defendant’s attorney has explained those
rights to her, and the consequences of her waiver of those rights.

Presentence Investigation Report/Post-Sentence Supervision

 

24. Defendant understands that the United States Attorney’s Office in its
submission to the Probation Office as part of the Pre-Sentence Report and at
sentencing shall fully apprise the District Court and the Probation Office of the
nature, scope, and extent of defendant’s conduct regarding the charges against her,
and related matters. The government will make known all matters in aggravation
and mitigation relevant to sentencing, including the nature and extent of
defendant’s cooperation.

25. Defendant agrees to truthfully and completely execute a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to
and shared among the Court, the Probation Office, and the United States Attorney’s
Office regarding all details of her financial circumstances, including her recent
income tax returns as specified by the probation officer. Defendant understands
that providing false or incomplete information, or refusing to provide this
information, may be used as a basis for denial of a reduction for acceptance of
responsibility pursuant to Guideline § 3E1.1 and enhancement of her sentence for
obstruction of justice under Guideline § 3C1.1, and may be prosecuted as a violation

of Title 18, United States Code, Section 1001 or as a contempt of the Court.

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26. For the purpose of monitoring defendant's compliance with her
obligations to pay a fine and restitution during any term of supervised release or
probation to which defendant is sentenced, defendant further consents to the
disclosure by the IRS to the Probation Office and the United States Attorney’s
Office of defendant’s individual income tax returns (together with extensions,
correspondence, and other tax information) filed subsequent to defendant's
sentencing, to and including the final year of any period of supervised release or
probation to which defendant is sentenced. Defendant also agrees that a certified
copy of this Agreement shall be sufficient evidence of defendant's request to the IRS
to disclose the returns and return information, as provided for in Title 26, United
States Code, Section 6103(b).

Other Terms

 

27. Defendant agrees to cooperate with the United States Attorney’s Office
in collecting any unpaid fine and restitution for which defendant is liable, including
providing financial statements and supporting records as requested by the United
States Attorney’s Office.

28. Defendant understands that, if convicted, a defendant who is not a
United States citizen may be removed from the United States, denied citizenship,

and denied admission to the United States in the future.

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Conclusion

29. Defendant understands that this Agreement will be filed with the
Court, will become a matter of public record, and may be disclosed to any person.

30. Defendant understands that her compliance with each part of this
Agreement extends throughout the period of her sentence, and failure to abide by
any term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event she violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering it null and void, and
thereafter prosecute defendant not subject to any of the limits set forth in this
Agreement, or may move to resentence defendant or require defendant’s specific
performance of this Agreement. Defendant understands and agrees that in the
event that the Court permits defendant to withdraw from this Agreement, or
defendant breaches any of its terms and the government elects to void the
Agreement and prosecute defendant, any prosecutions that are not time-barred by
the applicable statute of limitations on the date of the signing of this Agreement
may be commenced against defendant in accordance with this paragraph,
notwithstanding the expiration of the statute of limitations between the signing of
this Agreement and the commencement of such prosecutions.

31. Should the judge refuse to accept defendant’s plea of guilty, this

Agreement shall become null and void and neither party will be bound to it.

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32. Defendant and her attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set
forth in this Agreement, to cause defendant to plead guilty.

33. Defendant acknowledges that she has read this Agreement and
carefully reviewed each provision with her attorney. Defendant further
acknowledges that she understands and voluntarily accepts each and every term

and condition of this Agreement.

AGREED THIS DATE: Octoler 13 Jos

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ZACHARY TSHARDON “BARBARA BY¥RD-BENNETT
United St a Attorney Defendant

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